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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON

DEBORAH E. MILLER,

       Plaintiff,                                         Case No. 3:20-cv-506

vs.

COMMISSIONER OF THE SOCIAL                                District Judge Michael J. Newman
SECURITY ADMINISTRATION,                                  Magistrate Judge Peter B. Silvain, Jr.

       Defendant.


   ORDER: (1) ADOPTING THE REPORT AND RECOMMENDATION OF THE
UNITED STATES MAGISTRATE JUDGE (DOC. NO. 11); (2) AFFIRMING THE ALJ’S
   NON-DISABILITY FINDING; AND (3) TERMINATING THIS CASE ON THE
                             DOCKET


       This Social Security appeal is before the Court on the Report and Recommendation issued

by United States Magistrate Judge Peter B. Silvain, Jr. (Doc. No. 11), to whom this case was

referred pursuant to 28 U.S.C. § 636(b). Judge Silvain recommended that the Administrative Law

Judge’s (“ALJ’s”) non-disability finding be affirmed. Neither party objected to the Report and

Recommendation.

       Upon careful de novo consideration of the foregoing, the Court determines that the Report

and Recommendation should be adopted. Accordingly, it is hereby ORDERED that: (1) the

Report and Recommendation is ADOPTED in full (Doc. No. 11); (2) the ALJ’s non-disability

finding is AFFIRMED; and (3) this case is TERMINATED on the docket.

       IT IS SO ORDERED.

Date: 10/27/2021                                   s/ Michael J. Newman
                                                   Hon. Michael J. Newman
                                                   United States District Judge
